                                     Kris Sperry, M.D.
                                   Forensic Pathologist
                    Certified by the American Board of Pathology in:
                                   Anatomic Pathology
                                    Clinical Pathology
                                    Forensic Pathology

                                                                February 1, 2023


Re: E     P

I have reviewed materials, documents, videos, reports, and other information
concerning the death of E P      . These items include the following:

Videos of the scene, which include the incident with E       father, the interaction with
deputies of the Jefferson Parish Sheriff’s Office (with enlargements of the restraint
sequence), and treatment at the scene by EMS personnel.

Transcripts of conversations with JPCO and JPSO personnel, deputies and detectives,
and witnesses.

Statements taken of the officers and witnesses who were present and/or participated in
restraint.

Autopsy report and complete Jefferson Parish Coroner’s Office file, with attachments
including photographs and slides.

EMS and Medical records from the terminal admission at East Jefferson General
Hospital.

911 Recording and request forms.

Depositions (with exhibits) of the following individuals:

        Donna Lou
        Dana Troxclair, M. D.
        Nicholas Vega
        Ryan Vaught
        Daren Parsa
        Shannon Guidry
        Myron Gaudet
        Manuel Estrada
        Chad Pitfield
        Steven Mehrtens

                      Sperry Forensic Pathology Consultants
                              2194 Bear Creek Road
                            Moreland, Georgia 30259
                           Telephone: (770) 252-2002
                     e-mail Dr. Sperry: stiffdoc@bellsouth.net
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       Mallory Smith
       Jeanette Euper
       Joseph Geist

In forming my opinions, I have also relied on my training and experience as set forth in
my CV and material from my medical library which includes numerous scholarly books,
literature, journals and articles pertinent to the issues discussed herein, including the
medical literature identified during Dr. Troxclair’s deposition.

On January 19, 2020, E P             was with his parents, Donna Lou and Daren Parsa,
who had taken him to a Laser Tag entertainment facility in Metairie, Louisiana, in the
Westgate Shopping Center. The family had been to this location many times, and were
well known there. E was 16 years of age, was visibly obese, and had been
diagnosed many years previously with Severe Autistic Spectrum Disorder (SASD).
According to his parents, this severely affected his life and activities of daily living,
including causing severe limitations in his ability to verbalize and communicate, and
limitations in his physical capabilities and motor skills, with poor muscle tone
(hypotonia). One of E        physical limitations that was known to his parents was that
he was unable to form his hands into fists, and thus was unable to “punch” someone or
something with a closed fist. Instead, he would appear to “flap” his hands and wave
and flail his arms, causing open-handed slaps with his hands and/or forearms if these
movements were directed towards other persons. He could hold onto another person.
E was also known by his parents to sometimes bite or bang his head during an
autistic crisis. These limitations were behavioral manifestations of his SASD and not an
indication of psychosis or psychotic behavior.

Upon leaving the Laser Tag, but while the family was in the parking lot, E began to
experience a “melt-down” (as termed by E        parents for an autistic crisis, who were
familiar with these behavioral manifestations). In the parking lot, E began to slap his
head, which was also a behavior known and recognized by his parents as a
manifestation of his SASD when he was experiencing a crisis. While slapping himself,
E also began slapping and grabbing at his father; the security camera videos
document that this lasted about five minutes. Also, he began to bite his father, as his
father was trying to calm him. The Laser Tag manager, came to the front of the facility
when she noticed the apparent struggle between E and his father. E              parents
then requested the manager to call the police.

The Laser Tag manager telephoned the Westgate Shopping Center’s Security office. At
this time, one of the Security officers was Chad Pitfield, who was also a Reserve Deputy
in the Jefferson Parish Sheriff’s Office (JPSO). The Laser Tag manager’s statement to



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                               2194 Bear Creek Road
                              Moreland, Georgia 30259
                             Telephone: (770) 252-2002
                      e-mail Dr. Sperry: stiffdoc@bellsouth.net
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JPSO documents that Pitfield was told by the manager, “there’s a man with his autistic
child, um, it’s an autistic adult child. They’re outside. They’re in a confrontation. It’s
getting pretty serious, can you please come over here.” Deputy Pitfield drove to the
scene in a JPSO car with lights activated, but by the time he arrived at the parking lot
location at 1:28:25 pm, the incident appeared to have ended, and E was standing by
the open car door with his father standing nearby. When Pitfield left his vehicle and
approached the Parsas, E           father told him that E had autism. [In his subsequent
statement, Pitfield acknowledged that he knew that E was “clearly the special needs
child that they {Dispatch} had told me, uh, about.”].

At 1:28:37 in the security camera video, E left his position alongside the family
automobile and is again seen flailing his arms and slapping himself on the head, then
flailing at and slapping his father. Seconds later, E begins slapping at Pitfield, who
then “escorted” [Pitfield’s word] E to the ground, with E in the prone position (face
down) on the asphalt. According to Pitfield, E purportedly bit him on the leg, and then
Pitfield struck E on the head. Then, Pitfield began attempting to handcuff E , and
the video reveals that he is sitting on E , who remained prone, and from 1:29:15 to
about 1:36:02 in the video recording (almost 7 minutes). Pitfield is a very large, obese
man (he gave a weight of 308 pounds at time of incident at deposition).

After Pitfield arrived, he radioed other JPSO deputies to come and assist him as he was
in a struggle with a mental patient, and he also contacted Emergency Medical Services
(EMS) to assess injuries to Mr. Parsa. While still restraining E in the prone position
by himself, Pitfield contacted dispatch and requested backup to “step it up.” The later
arriving deputies could see that the father was injured and were informed that there was
a physical struggle between E and his father prior to their arrival. They also knew
that there had been a physical encounter between Pitfield and E prior to their arrival.
While Pitfield was sitting on E , E       mother sat down beside E , stroking his hand
and telling him that he should calm down because everything was going to be OK.
During these events, E only verbalized the word “firetruck” most likely from the sirens
of other emergency vehicles. The words “fire truck” are the only thing that E said
during this entire incident. His mother also placed clothing under E     head, which she
stated that she did in case he began to bang his head against the concrete.

While sitting on E , Pitfield radioed to other deputies who were in the process of
responding, telling them that he was dealing with “a mental patient. The other deputies
were thus aware that an individual was experiencing a mental health crisis of some sort.
At 1:34:20 in the video, JPSO Detective Ryan Vaught arrived, and later indicated that
he was aware that an individual was having a “mental episode.” When Vaught arrived,
Pitfield told him that, “the kid….special needs.” Vaught assisted Pitfield in placing two



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sets of interlinked handcuffs on E , pulling his hands behind his back as he remained
prone. The video does not reveal visual evidence that E was actively resisting the
placement of the handcuffs, and this was later confirmed by Vaught during questioning
by JPSO detectives. Despite no resistance, Pitfield and Vaught failed to roll E to his
side (the “recovery position”) or otherwise monitor his condition.

Other than the word “firetruck,” E made no other intelligible sounds, but made
moaning and groaning sounds. During this entire time, E remained prone with Pitfield
sitting on him, and there was no effort made to either turn E or move him on his side
(the “recovery position”). While E made certain movements while being restrained by
Pitfield, it is my opinion that these movements were not willful, active resistance or
efforts to harm the officers, but behavioral manifestations of his autism and evidence of
oxygen deficiency which was resulting from his continuous and prolonged restraint.
Subsequently, Pitfield stood up and removed himself from E . At this time, there is no
visible evidence or testimony that E offered any struggle or resistance at all when the
deputies made this switch. Despite this fact, the deputies on the scene failed to place
E in the recovery position or otherwise monitor his condition. After Pitfield stood up,
JPSO Deputy Nicholas Vega took his place on E ’s back, keeping E in a prone
position. At this point, six JPSO personnel were present, and E remained prone,
being held in this position by Vega sitting on his back with his hands cuffed behind his
back. A seventh deputy (Myron Gaudet) arrived at the scene.

After switching with Pitfield, Vega is seen in the video to take E     cuffed hands and
push them upwards and towards E           head, with the effect of pushing E     face and
upper body forward and down into the parking lot surface. Detective Mehrtens
confirmed that Vega utilized this procedure to control suspects in his statement.
(Mehrtens Statement, p. 7). Again, at this time, it doesn’t appear that E is offering
any real resistance or danger to the deputies. As previously noted, the actions of E
appear to be consistent with the physical manifestation of his SASD and oxygen
deficiency stemming from the prolonged restraint. E         arms became hyperextended,
bent forward and upward over his head. This maneuver appears to have caused E to
react, whereupon Deputy Vega (who was still sitting on E ) applied a neck hold,
changing his position such that he appears to be essentially “laying” upon E        back.
Vega later told JPSO detectives that he performed a neck hold, “put[ing]] my forearm
right here, underneath his chin to try to maintain some control and to keep him from
hitting his head and doing anything else.” What Vega is describing is a so-called
“forearm bar” hold from behind. The physical findings at autopsy confirm that Vega
utilized a “forearm bar” choke hold which significantly impacted E       airway and ability
to breathe. Vega remained in this position and with his arm around E         neck until




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Deputy Myron Gaudet was about to switch positions with Vega, taking over the restraint
as E remained prone and handcuffed.

At or around this point, leg shackles are affixed to E     legs. When Gaudet was
switching positions with Vega, it was noticed that E had “gone limp,” and had
urinated. Almost at the same time, E appears to be completely limp and
unresponsive, and the officers finally rolled him onto his side and into the “recovery
position.” This occurred after E had been held prone, under the body weight of
deputies who were sitting on him, with his hands cuffed behind his back and with E
abdominal panniculus being pushed superiorly against his diaphragm and chest, for
nine minutes and six seconds. When it was determined that E was not breathing,
CPR was not commenced immediately after moving E out of the prone position onto
his side/back. After about a minute and a half, deputies started CPR and attempted to
perform chest compressions, and the video reveals that their hand placement appears
to be low on E     chest, which would thus push his abdomen up against his diaphragm
instead of compressing the chambers of the heart and effecting blood circulation.

E was unconscious at this point, and never regained consciousness nor exhibited any
purposeful movements. The EMS personnel attended to him, placed him on a Lucas
machine and secured an airway using a Laryngeal Mask Airway (LMA). E was not
intubated by EMS. The use of the LMA to secure his airway does not require the
paramedic to use the Sellick Maneuver which would put pressure on the hyoid bone.
E was then taken by ambulance to East Jefferson Hospital for emergency treatment.
The EMS records noted that E was warm to touch and not a highly elevated body
temperature. The EMS records note that his ETCO2 was 41 at 13:58; 46 at 14:04; 93
at 14:09 and 83 at 14:14 which is evidence of an increasing buildup of CO2, acidosis
and oxygen depletion. EMS administered Sodium Bicarb at 13:57; 14:02 and 14:12 to
reverse acidosis. No labs were taken at the hospital. A short time later, a nurse
telephoned his parents and told them that E was in cardiac arrest; however, the
JPSO deputies would not let them leave the scene. At the hospital, E remained in
complete cardiac arrest, which was refractory to all emergency medical procedures and
medications, and was pronounced dead at 1435 hours (2:35 pm).

An autopsy was performed at the Jefferson Parish Forensic Center by Dana Troxclair,
M. D., three days after E      death, on January 22, 2020. The autopsy examination
was extensive, and included separate neuropathology and cardiac pathology
consultants’ reports, detailed toxicology studies including tryptase and serum IgE
analysis, vitreous chemistry studies, and analyses for certain known genetic markers of
cardiomyopathy and increased arrhythmogenic potential. At the postmortem
examination, E      body weighed 321 pounds and was 70 inches in height, giving a



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Body Mass Index (BMI) of 46.05, which is “overweight”, and also “obese Class III”, the
highest category used by the World Health Organization for BMIs >40. No petechiae
were found on the face or within the eyes or eyelids, but the sclerae and conjunctivae
were congested. A layered dissection of the anterior neck revealed a 3.0 X 1.5 X 2 cm
area of hemorrhage within the distal aspect of the left sternocleidomastoid muscle at the
attachment to the left clavicle, and a 2.0 X 0.5 cm area of hemorrhage within the
posterior aspect of the anterior left strap muscle (sternohyoid). These areas are
documented in the autopsy photographs. Although the hyoid bone was intact and not
fractured, an area of hemorrhage was identified within the posterior proximal esophagus
and surrounding the left greater hyoid horn; in the autopsy report, the medical examiner
attributed this injury to intubation attempts during E    resuscitation attempts.
However, E was not intubated by EMS as an LMA was placed, negating the need for
cricoid pressure or manipulation of the hyoid bone. The lungs were congested and
mildly increased in weight. Superficial abrasions were identified on the upper and lower
extremities, which were opined to be consistent with the result of the interaction with
JPSO officers and the handcuff placement about his wrists.

The heart was mildly enlarged (490 grams), and a detailed examination at the Jesse E.
Edwards Registry of Cardiovascular Diseases gave a reference weight of 233-463
grams for E     height. The further detailed cardiac examination revealed no
abnormalities, save for four chamber enlargement and biventricular hypertrophy in
keeping with the mildly increased heart weight. No microscopic conduction system
abnormalities were identified. The cardiac genetic studies disclosed the presence of the
SCNSA gene, which has uncertain significance. Toxicology studies revealed only the
medications that E took routinely. The neuropathology examination revealed no
diagnostic abnormalities, meaning that E      brain and spinal cord were normal to both
gross and microscopic evaluation. The vitreous analyses were normal as well.

The “Findings” section of the autopsy report included a narrative, which was generated
after recorded video footage of the event was viewed, with the statement that, “…the
decedent remained combative, necessitating further restraint” after Deputy Pitfield took
E to the ground and with E prone. The “Findings” continue with the statement that,
“The decedent continued to struggle, culminating in a severe physical outburst where he
pulled his restrained arms over his head.” The final diagnosis for the Cause of Death
was, “Excited Delirium,” and the Manner of death was certified as being “Accident.”
Specifically, the narrative stated that, “E P     , a 16-year-old male, died as a result of
Excited Delirium due to an Acute Psychotic Episode in the setting of Severe Autistic
Spectrum Disorder and Disruptive Behavior Disorder.” “Morbid Obesity with Prone
Positioning and Cardiomegaly” were listed as contributing factors to the death.




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As will be discussed, these findings are incorrect as the manner and cause of death.
First, this incident should have been classified as a homicide as even Dr. Troxclair
noted that had the deputies not placed E in the prone position for over 9 minutes, E
most likely would not have died. (Troxclair depo., p. 58). Second, Excited Delirium is
not a valid cause of death and E did not exhibit any of the vast array of alleged
symptoms of Excited Delirium. Third, Dr. Troxclair did not address or evaluate the
contribution of the “forearm bar” chokehold administered by Deputy Vega to E
death. Fourth, E was not experiencing a psychotic episode but was exhibiting his
long-standing, behavioral manifestations of the SASD.

The term “Excited Delirium Syndrome” (ExDS) was first used in 1985, in a scientific
article discussing sudden deaths in cocaine users, and of the seven cases discussed,
five occurred while the individuals were in police custody. Since that time, this
diagnosis has been imbued with controversy. The medical diagnosis of “Excited
Delirium” is often made based solely upon ill-defined criteria that comprise “risk factors”
that are purported to be diagnostic for ExDS, without any specific pathologic diagnostic
criteria. This often causes the clinical or autopsy diagnosis of ExDS to be subjective,
rather than based upon scientifical and medical objective diagnostic findings. These
purported “risk factors” include such things as, “bizarre behavior generating phone calls
to police,” “failure to respond to police presence (or “failure to follow commands of
police”),” “highly elevated body temperature” and “continued struggle despite restraint.”
Persons with ExDS also supposedly exhibit “superhuman strength” and are “impervious
to pain.” The list of purported “risk factors” has expanded over nearly three decades, to
include the presence of a plethora of illicit (and some licit) drugs, drug toxicity
(especially cocaine or methamphetamine), profuse sweating, exhibiting verbal or
physical threats, lack of ability to control one’s behaviors and actions, and even the
presence of a known mental disorder.

Neither Excited Delirium or an essentially similar diagnosis, Agitated Delirium, are
accepted as valid medical diagnoses by many professional medical organizations and
societies. Many professional organizations, including the World Health Organization
and the American Medical Association, do not recognize these syndromes as valid
medical diagnoses, and these are not listed as diagnoses by the International
Classification of Diseases or The Diagnostic and Statistical Manual of Mental Disorders.
The American Psychiatric Association’s position is that the term ExDS is “too
nonspecific to meaningfully describe and convey information about a person.” The
Royal College of Psychiatrists in the United Kingdom released a statement that they do
“not support the use of such terminology, which has no empirical evidential basis.” Most
published scientific literature has indicated that ExDS-related deaths are due to an
occult and as-yet uncharacterized occult pathophysiologic process. A 2020



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                               2194 Bear Creek Road
                              Moreland, Georgia 30259
                             Telephone: (770) 252-2002
                      e-mail Dr. Sperry: stiffdoc@bellsouth.net
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investigation by the United Kingdom’s forensic science regulator found that the
diagnosis should not have been used since it “has been applied in some cases where
other important pathological mechanisms, such as positional asphyxia and trauma may
have been more appropriate.”

The diagnosis of Excited Delirium is not uniformly accepted in forensic medicine and
forensic pathology as a valid cause of death, primarily because the purported “risk
factors” as delineated above do not, in and of themselves or in combination, begin to
adequately explain the exact pathophysiologic mechanism or mechanisms which
ultimately cause a death. Furthermore, a very large percentage of persons with
supposed “Excited Delirium” deaths have illicit stimulant drugs in their blood, primarily
cocaine and methamphetamine (and/or amphetamine). These stimulant drugs are well-
known to cause systemic toxicity, usually producing a catecholamine or adrenergic
“storm”, with tachycardia, often elevated body temperature, and behavioral aberrations
that are identical to those attributed to ExDS patients. Furthermore, ExDS has and still
is used by some law enforcement agencies in order to attempt to explain a negative
outcome, up to and including death, that results from forcibly restraining someone. In
any event, E did not meet the ever changing and ill-defined characteristics of Excited
Delirium as E did not have an extremely elevated body temperature, was not under
the influence of illegal drugs and his behavior was not out of character but represented
the behavioral manifestations of his SASD.

For many years, the forensic pathology community accepted that a death might occur
from the prone restraint of an individual being subdued by law enforcement officers, and
the terms, “positional restraint,” “prone restraint,” or “positional asphyxia” were coined in
order to give a diagnosis to deaths that occurred when an individual was prone,
handcuffed (with or without hobble restraints on the feet), and often with the weight of
officers on his or her back. Experimental observations eventually revealed that, for the
vast majority of young, healthy and non-obese individuals, such prone restraint with
handcuffs and even with weight on the back did not produce deleterious outcomes, and
it was gradually recognized that such restraint methods were not physically or
physiologically dangerous. However, as individual patient characteristics were more
closely examined in situations where the outcome was severe organ system damage,
brain damage, or death, it was found that one particular risk factor that did, in fact, prove
to be potentially serious and even life-threatening in prone-restraint events. This factor
was the presence of obesity in the person being restrained, and specifically, significant
abdominal obesity such that a distinct protuberant abdomen will push up on the
diaphragm when an obese person is prone and restrained in the prone position, thus
impairing adequate thoracic expansion while breathing. The American Psychiatric
Association recognized prone restraint, or the utilization of prone “5-point restraints” in



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                              Moreland, Georgia 30259
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an agitated and mentally ill patient as significantly posing a life-threatening risk. Thus,
prone restraint in obese persons should be avoided altogether, or if required as a part of
the overall restraint of an agitated patient, should last as short a time as possible. Once
the individual is restrained, they should be turned on their side, in the “rescue position,”
alleviating the diaphragmatic excursion impairment caused by staying in a prone
position.

The terms “positional asphyxia” and “restraint asphyxia” may also be vague, in that true
asphyxia, or lack of oxygen entering the lungs and then being distributed by the heart, is
not an adequate explanation for how deaths occur in prone restraint situations,
especially in obese individuals. Experimental data has shown that when an individual is
restrained in the prone position and weights are placed upon the back, this will have the
result of decreasing the cardiac index, which is the amount of blood pumped by the
heart as a function of the Body Mass Index (BMI). Thus, as the body weight of an
individual increases, a prone restraint will impair the adequate circulation of blood.
Additionally, a fight or altercation, such as when an individual struggles with police
officers who are attempting to subdue him/her, with continued struggling once the
person is effectively restrained, can produce acidosis and an elevated serum Potassium
level (hyperkalemia). In an obese individual who is restrained in a prone position, the
impairment of adequate respiratory oxygen and carbon dioxide exchange causes
upward displacement of the obese abdomen against the diaphragm and thorax, such
that inspiratory and expiratory excursion is diminished.

The evolution of systemic acidosis is exacerbated by the resulting inadequate oxygen
and carbon dioxide exchange; and carbon dioxide retention compounds the evolving
systemic acidosis. Ultimately, the postulated mechanism of true prone positional
asphyxia is progressive acidosis and hyperkalemia that is compounded by respiratory
embarrassment caused by the physical upward displacement of the obese abdomen,
limiting the expansion of the chest. The systemic acidosis progresses to cause cardiac
arrhythmias which may themselves be lethal, as well as hypoxic and hypoperfusion
damage to other organs. Many survivors of actual positional asphyxia sustain renal
damage, liver damage, central nervous system damage, and respiratory failure. In
specific instances where an obese individual who has a large, protuberant abdomen is
held prone, with weight upon the posterior body surface, the physical effect is that the
abdomen is forced superiorly, impinging upon the diaphragm and impairing adequate
inspiration and expiration. This has been demonstrated to be a known and recognized
risk in the restraint of obese individuals. For this reason, the American Psychiatric
Association has recommended that this practice be avoided or minimized in mentally ill
patients, as deaths in mental treatment facilities have occurred when obese mentally ill
patients were restrained and prone.



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Autism spectrum disorder is a neurological and developmental disorder that affects how
people interact with others, communicate, learn and behave. Symptoms and signs
usually begin to appear by two years of age, and there is a very wide variation in the
type and severity of the symptoms that individuals exhibit and experience. In the more
severe manifestations of the autism spectrum disorder (SASD), persons may become
upset with even slight changes in a routine and have difficulty with transitions, and have
either increased sensitivity or decreased sensitivity as compared to other non-autistic
people to various sensory inputs, such as light, sound, clothing or temperature. The
more severe manifestations of the disorder may require almost complete continual care
and supervision by others, including parents and other designated caregivers. The
communication difficulties may profoundly interfere with the ability of an autistic
individual to “obey” the simplest of commands, which may readily be misinterpreted as
uncooperativeness or intentional disobedience. These severe communication
impairments can be catastrophic in situations where the autistic person is confronted by
others, such as law enforcement officers. E          parents knew that when he began to
have a “melt-down,” he would engage in self-injurious behaviors and sometimes
aggressive actions towards others. His parents knew best how to calm him and
diminish the excessive environmental stimulations that precipitate these crises. The
inability of the autistic person to understand and comprehend commands, and
especially an individual with Severe Autistic Spectrum Disorder, who are confronted by
or otherwise involved in an incident with law enforcement officers, can result in disaster
if the officer(s) decide to continue to utilize a prone restraint against an obese, severely
autistic person. While Dr. Troxclair noted in her autopsy report that E died of “Excited
Delirium due to an Acute Psychotic Episode,” the evidence does not support either
finding as E failed to meet even the ill-defined characteristics of Excited Delirium and
his actions were not psychotic or delusional but the long-standing behavioral
manifestations of his SASD.

Persons with autism, and especially severe autism, frequently have co-existing physical
and motor problems, such as obesity, and impairment of both gross and fine motor
abilities and skills. Other physical findings are “low muscle tone” (hypotonia), as well as
hypermobility (markedly increased and excessive flexibility) which involves many joints.
E P         exhibited these features. E was obese, his motor skills were clearly
impaired, and his joints were excessively mobile and flexible. He was unable to make
closed fists, and exhibited hypermobility of his arms and shoulders, which was
demonstrated when Deputy Vega grasped E              cuffed hands and elevated them over
E       upper back and his head. This apparent “hypermobility” is thought to be the result
of poor muscle tone, with concomitant increased mobility beyond that of non-autistic
persons; but no definitive structural or biochemical abnormality has been yet



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discovered. The aberrations in the sensory interpretations by autistic persons will often
cause them to strike themselves, or appear to “act out,” in order to provide self-
stimulation that assists the autistic person to cope with the world around him/her. Such
self-stimulation has never been shown to be evidence of intentional self-harm, however.

The decision to restrain E P         by members of the JPSO essentially represents a
clash between the decisions of law enforcement, and the communication discordance
that typifies autism. The sequence of events as documented in the video recordings
and other sources reveals that the JPSO deputies and other officers knew that E was
autistic, knew that he was not “normal,” and although autism is not classified as a
psychiatric illness, nonetheless knew that there were significant “mental” issues
affecting this young man. The decision to restrain E for a prolonged period of time
would cause E to react as his autism interfered with his ability to understand what he
was being asked to do, much less why, or to communicate verbally with the deputies.
Further, the prolonged restraint further depleted his oxygen reserves and increased his
retention of CO2 which made him acidotic which made him struggle to breathe. E
was observed to have periods of complete calmness followed by efforts to react as he
struggled for breath as he was asphyxiating. Further, E was morbidly obese, which
immediately put him at risk for serious medical consequences and even death if he was
held in a prone restraint, which is exactly what occurred.

The specific maneuver performed by Deputy Vega, wherein E            cuffed arms were
forcibly pushed up and over E       head, would result in E experiencing pain. This
was the completely gratuitous infliction of pain, and E was not resisting or struggling.
At no time during the more than nine minutes that E P          was restrained, face-down
on the cement, was the pressure on his back relieved for more than mere seconds, nor
was he ever turned in to a recovery position, until the deputies noticed that E was not
breathing, unresponsive and had urinated on himself.

It is my opinion, to a reasonable degree of medical certainty, that the prone restraint of
E P        , with continuous weight upon his posterior body for all but a few seconds of a
time period of more than nine minutes, caused progressive respiratory insufficiency as
pressure forced his obese abdomen upwards, impairing adequate inhalation and
exhalation, and the continual struggle likewise produced gradual systemic acidosis.
Both of these conditions eventually culminated in the evolution of a lethal cardiac
arrhythmia, which was fatal. The appropriate pathologic diagnosis for his death is thus
“positional asphyxia,” or “restraint asphyxia.” The mechanism of his death is a sudden
cardiac arrhythmia which arose from systemic acidosis and progressive respiratory
insufficiency, caused by continual prone restraint with very significant body weight
pressure being directed on his back, pressing E into the underlying cement with



                     Sperry Forensic Pathology Consultants, Inc.
                               2194 Bear Creek Road
                              Moreland, Georgia 30259
                             Telephone: (770) 252-2002
                      e-mail Dr. Sperry: stiffdoc@bellsouth.net
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superior displacement of his abdominal panniculus that impaired diaphragmatic
excursion, and the exchange of oxygen and carbon dioxide It is also my opinion, to a
reasonable degree of medical certainty, that E P        did NOT die of the Excited
Delirium Syndrome, and furthermore, that the utilization of this syndromic diagnosis is
improper and should not be used to explain E P            death.

Except for mild heart enlargement, the autopsy examination was negative, with no
identification of structural abnormalities of the heart, brain, or other organs, no evidence
of biochemical indicators of possible systemic allergic reactions (anaphylaxis), and no
genetic abnormalities which may have somehow precipitated his sudden death. In
effect, the extensive autopsy concluded no pre-existing anatomic or pathologic cause of
his death.

Several hemorrhages were identified within the strap muscles of the neck, without
fracture of the hyoid bone or laryngeal cartilages. When Deputy Vega was holding E
prone, Vega placed a forearm across the front of E         neck, an extremely dangerous
neck restraint termed a “forearm bar” hold. This neck hold causes the forearm to push
posteriorly upon the restrained person’s larynx, and should never be used in law
enforcement restraints except in life-or-death struggles. Even if the larynx or hyoid are
not fractured, the forearm bar hold across the front of the neck displaces the larynx
backwards, against the anterior cervical spinal column, and impairs breathing through
deformation of the upper airway anatomic structures. The incident between the JPSO
officers and E P         was not a life-or-death situation, and the deputies were also
aware that E was “special needs.” These hemorrhages of the neck and injuries
around the hyoid bone confirm Vega applied the forearm bar hold, and it is my opinion,
to a reasonable degree of medical certainty, that this neck hold must be considered a
contributory cause of E P           death.

A final conclusion of the autopsy examination of E P           was the determination of a
“Manner of Death.” There are five generally recognized manners of death, which
include Natural, Accident, Suicide, Homicide, and Undetermined. In the case of E
P     , the autopsy pathologist opined that the Manner of Death was “Accident.” It is my
opinion, to a reasonable degree of medical certainty, that E P           death should
have been more properly called a “Homicide.” From the forensic pathology perspective,
“Homicide” specifically means that a person’s death was caused or contributed to by the
action or actions of others. A homicidal manner of death does not imply intent to cause
death; such intent definitions of intent are legal conclusions, and not medical
conclusions. A “Homicide” manner of death likewise does not imply negligence. The
“Findings” portion of the autopsy report clearly describes that E was involved in a
struggle with law enforcement officers, and that he was restrained in a prone position on



                     Sperry Forensic Pathology Consultants, Inc.
                               2194 Bear Creek Road
                              Moreland, Georgia 30259
                             Telephone: (770) 252-2002
                      e-mail Dr. Sperry: stiffdoc@bellsouth.net
